              Case 16-24102-AJC         Doc 104      Filed 08/03/18      Page 1 of 2


                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION
                                 www.flsb.uscourts.gov

In re:
                                                                                       Chapter 13
                                                                          Case No.: 16-24102-AJC
SUSANA CASTANON,

      Debtor.
____________________________/

                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on August 3, 2018, I served a conformed copy of Order

Granting Amended Motion to Allow Late Filed Claim to be Treated as Timely Filed. (Re:

# 100)[D.E. 103] upon all counsel of record via transmission of Notices of Electronic Filing

generated by CM/ECF or in some other authorized manner for those counsel or parties who are

not authorized to receive electronically Notices of Electronic Filing.


Dated this 3rd day of August, 2018.

                                                     Respectfully submitted:

                                                     GHIDOTTI ǀ BERGER, LLP
                                                     Attorneys for Secured Creditor
                                                     3050 Biscayne Blvd. - Suite 402
                                                     Miami, Florida 33137
                                                     Telephone: (305) 501.2808
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                                                     By:     /s/ Chase A. Berger
                                                             Chase A. Berger, Esq.
                                                             Florida Bar No. 083794
                                                             cberger@ghidottiberger.com
              Case 16-24102-AJC        Doc 104       Filed 08/03/18    Page 2 of 2
                                                                         Case No.: 16-24102-AJC

               CERTIFICATE PURSUANT TO LOCAL RULE 9011-4(B)(1)

       I certify that I am admitted to the Bar of the United States District Court for the Southern

District of Florida and I am in compliance with the additional qualifications to practice in this

court as set forth in Local Rule 2090-1(A).


                                              By:     /s/ Chase A. Berger
                                                          Chase A. Berger, Esq.



                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on August 3, 2018, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF.

       I also certify that the foregoing document is being served this day, either via transmission

of Notice of Electronic Filing generated by CM/ECF or by first class U.S. Mail, upon:


      Debtor                                            Debtor’s Counsel
      Susana Castanon                                   Eduardo E. Dieppa, III, Esq.
      9881 S.W. 3rd Street                              2097 W. 76th Street
      Miami, FL 33174                                   Hialeah, FL 33016

      Trustee                                           U.S. Trustee
      Nancy K. Neidich                                  Office of the US Trustee
      P.O. Box 279806                                   51 S.W. 1st Avenue - Suite 1204
      Miramar, FL 33027                                 Miami, FL 33130



                                              By:     /s/ Chase A. Berger
                                                          Chase A. Berger, Esq.




                                               -2-
